EXHIBIT 10
                  Commission              Dev Fee              Sale                Land/Rebate          Totals
Shaw Rd.      $             800,000   $          700,000   $       2,250,000   $            400,000 $      4,150,000
Quail Ridge   $           2,600,000   $        1,750,000   $       3,750,000   $            400,000 $      8,500,000
Manassass     $           1,600,000                                            $          2,000,000 $      3,600,000
Lerner        $           1,600,000   $         700,000    $      2,250,000    $            400,000 $      4,950,000
Route 50      $           1,800,000   $         700,000    $      2,250,000    $            400,000 $      5,150,000
DTC           $           1,500,000   $       1,750,000    $      7,500,000                         $     10,750,000
Total         $           9,900,000   $       5,600,000    $     18,000,000    $          3,600,000 $     37,100,000
Share         $           3,550,000   $       2,158,333    $      7,250,000    $          1,533,333 $     14,491,667
